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Superior Court of Arizona
Maricopa County
201 W Jefferson, Phoenix, AZ 85003
Barclays Bank Delaware, , NO. CV2019-051713
Plaintiff(s), CERTIFICATE OF SERVICE
vs. , .
Legretta F Cheek and J Doe spouse,
Defendant(s), ,

 

The undersigned certifies under penalty of perjury:

I received the Sammons, Complaint and Certificate of Compulsory Arbitration from Gurstel
Law Firm, P.C. and served the same upon: :

Legretta F Cheek and J Doe spouse

By leaving a true and accurate y of the above documents with Legretta F Cheek, D1, (a person
residing within the juual place of abode of suitable age and Wiaurction) for each of nc pol ore
Tegretta F Cheek J Doe spouse, at 7124 W Linda Lu, Chandler, AZ 85226 at approximately
: on 2019,

Comments: D1 & 12 Served; An additional copy was left with served; D1/Les EF
Cheek stated she is not married; , pen Mhegretia
Geostamp: Sunday. 06/02/2019'2:56 PM - Longitude: -111.96559166667 - Latitude:
33.317572222222

Location Type: Residence

Description of person served:

Sex: Female Race: African American Hair: Black Age: 69 Height: 5ft 05in Weight: 140 Ibs
Marital Stato’ 6f Legretta F.Chask: a,

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the foregoing is true and correct,

   
 
 
  

2019
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Maricopa County - MC8714 TOTAL:
Date Served: 06/02/2019 $83.00
Court Case#: CV2019-051713
Our Job#; 582591
Client/Atty File#: 1197894

ee an nnn mnie EXHIBIT 2.

 

Case 3:20-cv-00302-FDW-DSC Document 1-2. Filed 05/28/20 Page 1 of 1

 
